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                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 In re:                                          )       Misc. No. __________
                                                 )
 HUDSON PALMER HOMES, INC. f/k/a                 )       Chapter 7
 THE CUTLER GROUP, INC.,                         )
                                                 )
                                Debtor.          )       Bankruptcy Case No. 18-17509 (JKF)
                                                 )
                                                 )
                                                 )
                                                 )
 NAVIGATORS SPECIALTY INSURANCE                  )
 COMPANY,                                        )
                                                 )
                                Plaintiff,       )       Adv. Pro. No. 19-00146 (JKF)
                                                 )
                         v.                      )
                                                 )
 HUDSON PALMER HOMES, INC., f/k/a                )
 THE CUTLER GROUP, INC.,                         )
                                                 )
                                Defendant.       )


    ORDER WITHDRAWING THE REFERENCE TO THE BANKRUPTCY COURT

           AND NOW, this ____ day of __________, 2019, upon consideration of Motion of

Navigators Specialty Insurance Company's ("Navigators") for Withdrawal of Reference; and the

Court having considered the papers submitted in opposition thereto, if any; and oral argument, if

any, having been heard; and good cause appearing:

           It is hereby ORDERED that Navigators' Motion be and hereby is GRANTED; and

           IT IS FURTHER ORDERED that the reference of this adversary proceeding to the

United States Bankruptcy Court for the Eastern District of Pennsylvania is hereby

WITHDRAWN.

                                                           ______________________________
